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        key 1:21-cr-00022-CKK
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                                             Filed 02/11/21 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number 21-CR-00022-KBJ


CHRISTOPHER RAY GRIDER
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED          9     FEDERAL PUBLIC DEFENDER



                                                                (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:

                                          T. Brent Mayr / State Bar of Texas No. 24032052
                                                        (Attorney & Bar ID Number)
                                          Mayr Law, P.C.
                                                               (Firm Name)
                                          5300 Memorial Drive, Suite 750
                                                             (Street Address)

                                          Houston             Texas             77007
                                           (City)               (State)          (Zip)
                                          713-808-9613
                                                           (Telephone Number)
